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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                    X
MICHELLE TENZER-FUCHS,

                                   Plaintiff,

                       -against-                          Civ. No.: 21-cv-01179 (JMA)(AYS)
Temp-tations, LLC,

                                   Defendant.
                                                    X
                   STIPULATION OF FINAL DISMISSAL WITH PREJUDICE


                  IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff and

Defendant, through their respective undersigned counsel, that all claims which were or could have

been asserted by Plaintiff Michelle Tenzer-Fuchs are hereby dismissed in their entirety, with

prejudice and without costs and/or attorneys' fees to any party as against any other party.


 Shalom Law, PLLC                                  JACKSON LEWIS P.C.
 105-13 Metropolitan Avenue                        44 South Broadway, 14th Floor
 Forest Hills, NY 11375                            White Plains, New York 10601
 (718) 971-9474                                    (914) 872-8060
 Attorneys for Plaintiff                           Attorneys for Defendant


 By:        Jonathan Shalom
          ____________________________             By: ________________________________
          Jonathan Shalom                                 Rebecca M. McCloskey


 Dated: September ___, 2021                        Dated: September 21, 2021
                         21
                  The foregoing Stipulation is approved, and IT IS SO ORDERED this ___ day of

____________, 2021.

                                                     _______________________________
                                                         The Honorable Joan M. Azrack
4842-4221-8235, v. 1
